Case: 1:19-cv-02394 Document #: 266 Filed: 06/05/23 Page 1 of 1 PageID #:5670

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Richard Seeks, et al.
                                     Plaintiff,
v.                                                     Case No.: 1:19−cv−02394
                                                       Honorable Nancy L. Maldonado
Boeing Company, The, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 5, 2023:


         MINUTE entry before the Honorable Nancy L. Maldonado: The joint motion to
modify case management schedule [265] is granted: Plaintiffs shall file motions to add
parties or amend pleadings by 8/15/23; Plaintiffs shall move for class certification and
serve supporting fact and expert evidence by 9/15/23; Defendants shall file any opposition
to class certification and serve supporting fact and expert evidence by 12/1/23; Plaintiffs
shall file reply papers in further support of class certification by 1/12/24; all fact discovery
shall be completed by 3/8/24; Plaintiffs shall serve opening expert reports relating to any
non−class certification issue by 4/5/24; Defendants shall serve expert reports on non−class
certification issues by 5/31/24; Plaintiffs shall serve reply expert reports on non−class
certification issues by 6/21/24; all expert discovery shall be completed by 7/19/24; parties
shall file summary judgment/dispositive motions by 8/23/24, with responses due 10/18/24
and replies due 12/6/24. The Honorable Young B. Kim has authority to change deadlines.
(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
